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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SISVEL INTERNATIONAL S.A.,

3G LICENSING S.A., and SISVEL S.p.A.,               Civil Action No.

                       Plaintiffs,

       v.                                           JURY TRIAL DEMANDED

XIRGO TECHNOLOGIES, LLC,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Sisvel International S.A., 3G Licensing S.A. and Sisvel S.p.A. (collectively,

“Plaintiffs”), for their Complaint against Defendant Xirgo Technologies, LLC (“Xirgo” or

“Defendant”), allege the following:

                                     NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the Patent Laws of the United

States, 35 U.S.C. § 1 et seq.

                                         THE PARTIES

       2.      Sisvel International S.A. (“Sisvel”) is an entity organized under the laws of

Luxembourg with a place of business at 6, Avenue Marie Thérèse, 2132 Luxembourg, Grand

Duchy of Luxembourg.

       3.      3G Licensing S.A. (“3G Licensing”) is also an entity organized under the laws of

Luxembourg with a place of business at 6, Avenue Marie Thérèse, 2132 Luxembourg, Grand

Duchy of Luxembourg.




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       4.      Sisvel S.p.A. (“Sisvel S.p.A.”) is an entity organized under the laws of Italy with a

place of business at Via Sestriere 100, 10060 None (TO) Italy. “Sisvel” is an acronym for “Società

Italiana per lo Sviluppo Dell’Elettronica.”

       5.      Founded in Italy in 1982, Sisvel is a world leader in fostering innovation and

managing intellectual property. Sisvel works with its partners offering a comprehensive approach

to patent licensing: from issuing initial calls for essential patents; facilitating discussions among

stakeholders; developing multiparty license agreements; executing and administering licenses; to

collecting and distributing royalties. At the same time, Sisvel actively promotes a culture of

respect and understanding of the intellectual property and innovation ecosystem through, for

example, its regular presence at the key consumer electronics trade fairs and intellectual property

events, participation in policy discussions and conferences, as well as open dialogues with a

number of government bodies, standard-setting organizations and industry associations.

       6.      In early 2016, Sisvel initiated licensing activities in North America via its U.S.

subsidiary, Sisvel US Inc.

       7.      A subsidiary of Sisvel founded in 2015, 3G Licensing, is an intellectual property

company operating in the consumer electronics and telecommunications industry. The company is

composed of specialists with an extensive experience in administering licensing programs on

behalf of third-party companies and organizations.

       8.      A subsidiary of Sisvel founded in 1982, Sisvel S.p.A., is an intellectual property

company operating primarily in areas of wireless communication, audio/video coding/decoding,

digital video display, and broadband technology. The company is composed of specialists with




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extensive experience to support Sisvel’s efforts in licensing programs and patent pools, primarily

on behalf of third-party companies and organizations.

       9.      Upon information and belief, Defendant is a corporation organized and existing

under the laws of Delaware, with its principal place of business at 188 Camino Ruiz, Camarillo,

California 93012.

       10.     Defendant maintains a registered agent for service of process in Delaware at

Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808. Upon

information and belief, Defendant sells and offers to sell products and services throughout the

United States, including in this judicial district, and introduces products and services that enter

into the stream of commerce and that incorporate infringing technology knowing that they would

be sold in this judicial district and elsewhere in the United States.

                                 JURISDICTION AND VENUE

       11.     This Court has jurisdiction over the subject matter jurisdiction of this case under

28 U.S.C. §§ 1331 (federal question) and 1338(a) (patent law – 35 U.S.C. § 101, et seq.).

       12.     This Court has personal jurisdiction over Defendant, because Defendant has

sufficient minimum contacts within the State of Delaware and this District, pursuant to due process

and/or the Del. Code. Ann. Tit. 3, § 3104, as Defendant has purposefully availed itself of the

privileges of conducting business in the State of Delaware by regularly conducting and soliciting

business within the State of Delaware and within this District, and because Plaintiffs’ causes of

action arise directly from Defendant’s business contacts and other activities in the State of

Delaware and this District. Further, this Court has personal jurisdiction over Defendant because




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it is incorporated in the State of Delaware and has purposely availed itself of the privileges and

benefits of the laws of the State of Delaware.

         13.   Venue is proper in this judicial district under 28 U.S.C. § 1400(b) because

Defendant is incorporated in the State of Delaware.

                             ACCUSED INSTRUMENTALITIES

         14.   Defendant makes, uses, sells and offers for sale, provides, and causes to be used,

now and within the past six years XT2100 series, such as the XT2160 and XT2171, XT4500 series,

such as the XT4560, XT4700 series, such as the XT4760, XT4900 series, such as the XT4970,

XT4971 and XT4975, and XT6300 series, such as the XT6355, XT6372 and XT6376 (“Accused

Instrumentalities”), among other such devices.

         15.   Defendant advertises that the XT2100 series is compliant with the 3G and 4G

cellular network standards. (See product information for XT2100 series, attached hereto as Exhibit

1.)

         16.   Defendant advertises that the XT4500 series is compliant with the 3G cellular

network standard. (See product information for XT4500 series, attached hereto as Exhibit 2.)

         17.   Defendant advertises that the XT4700 series is compliant with the 3G cellular

network standard. (See product information for XT4700 series, attached hereto as Exhibit 3.)

         18.   Defendant advertises that the XT4900 series is compliant with the 3G and 4G

cellular network standards. (See product information for XT4900 series, attached hereto as Exhibit

4.)

         19.   Defendant advertises that the XT6300 series is compliant with the 3G and 4G

cellular network standards. (See product information for XT6300 series, attached hereto as Exhibit

5.)

                                        BACKGROUND


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       20.     Plaintiffs are the owners by assignment of a portfolio of patents, including the nine

patents described in detail in the counts below (collectively, the “Asserted Patents”), that relate to

technology for cellular communications networks, including variations or generations of cellular

communication network technology such as, but not limited to 3G, and 4G.

       21.     Cellular communication network technology is used to provide data transmission

across mobile cellular networks.

       22.     U.S. Patent No. 7,979,070 (“the ’070 patent”) was assigned to Nokia Corporation

either directly from the inventors or through mergers. In 2011, the ʼ070 patent was assigned to a

trust by Nokia Corporation. On April 10, 2012, Sisvel obtained ownership of the ʼ070 patent.

       23.     U.S. Patent Nos. 8,189,611 (“the ʼ611 patent”) and 8,600,383 (“the ʼ383 patent”)

were assigned to Research in Motion Ltd. from the inventors. Research in Motion Ltd. changed

its name to Blackberry, Ltd. in 2013. On November 16, 2018, the ’611 and ʼ383 patents were

assigned to Provenance Asset Group LLC from Blackberry, Ltd. On April 5, 2019, Sisvel obtained

ownership of the ʼ611 and ʼ383 patents from Provenance Asset Group LLC. On July 11, 2019,

Sisvel assigned the ʼ611 and ʼ383 patents to 3G Licensing.

       24.     U.S. Patent Nos. 7,215,653 (“the ʼ653 patent”), 7,319,718 (“the ʼ718 patent”),

7,551,625 (“the ʼ625 patent”), and 7,580,388 (“the ʼ388 patent”) were assigned to LG Electronics

Inc. from the inventors. On February 10, 2020, 3G Licensing obtained ownership of the ’653,

ʼ718, ʼ625, and ʼ388 patents from LG Electronics Inc.

       25.     U.S. Patent Nos. 7,869,396 (“the ʼ396 patent”) and 8,971,279 (“the ʼ279 patent”)

were assigned to LG Electronics Inc. from the inventors. On March 28, 2014, the ʼ396 and ʼ279

patents were assigned to Thomson Licensing SAS from LG Electronics. On September 23, 2019,

Sisvel S.p.A. obtained ownership of the ʼ396 and ʼ279 patents from Thomson Licensing SAS.




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        26.     Sisvel, 3G Licensing and Sisvel S.p.A. are the rightful owners of the Asserted

Patents and hold the entire right, title and interest in the Asserted Patents.

        27.     Sisvel sent correspondence to Xirgo on December 16, 2016, offering for Xirgo to

license patents owned and/or managed by Sisvel that are essential to cellular standards including

3G and 4G technology. The correspondence identified certain Xirgo products, including XT

2160G, that made use of cellular standards that infringed the patents offered for a license.

        28.     Following the December 16, 2016 correspondence, Sisvel and Xirgo continued to

discuss licensing including by email.

        29.     Despite Sisvel’s efforts, Xirgo refused to take a license to patents offered for a

license.

               COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,979,070

        30.     The allegations set forth in the foregoing paragraphs 1 through 29 are incorporated

into this First Claim for Relief.

        31.     On July 12, 2011, the ’070 patent, entitled “Mobile Equipment for Sending an

Attach Request to a Network” was duly and legally issued by the United States Patent and

Trademark Office from Patent Application No. 12/232,724 filed on September 23, 2008. The ʼ070

patent claims priority to U.S. Patent No. 7,035,621 filed on October 13, 2000. A true and correct

copy of the ʼ070 patent is attached as Exhibit 6.

        32.     Plaintiff Sisvel is the assignee and owner of the right, title and interest in and to the

ʼ070 patent, including the right to assert all causes of action arising under said patents and the right

to any remedies for infringement of them.

        33.     The ʼ070 patent discloses a system and method that Plaintiffs believe is essential

under the 4G cellular standard as explained in attached Exhibit 7. Thus, Defendant’s Accused




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Instrumentalities that are compliant with the 4G standard (“4G Capable Accused

Instrumentalities”) are necessarily infringing the ʼ070 patent

       34.     Defendant was made aware of the ʼ070 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       35.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 2 and/or 5 of the ʼ070 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 4G Capable Accused Instrumentalities that infringe the

patented methods.

       36.     Upon information and belief, these 4G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       37.     Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 1, 2 and/or 5 of the ʼ070 patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and end

users, whose use of the 4G Capable Accused Instrumentalities constitutes direct infringement of

at least one claim of the ’070 patent.

       38.     In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

4G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 4G Capable Accused Instrumentalities.

       39.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 4G Capable Accused Instrumentalities necessarily infringes the ʼ070 patent




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because the invention of the ʼ070 patent is required to comply with the relevant cellular

standard. Defendant advertises its 4G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ070 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ070 patent.

       40.     Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ070 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 4G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ070 patent. Each of the 4G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ070 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 4G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       41.     Plaintiffs have been harmed by Defendant’s infringing activities.

              COUNT II – INFRINGEMENT OF U.S. PATENT NO. 8,600,383

       42.     The allegations set forth in the foregoing paragraphs 1 through 41 are incorporated

into this Second Claim for Relief.

       43.     On December 3, 2013, the ’383 patent, entitled “Apparatus and Method for Making

Measurements in Mobile Telecommunications System User Equipment” was duly and legally

issued by the United States Patent and Trademark Office from Patent Application No. 13/617,241

filed on September 24, 2012. The ʼ383 patent claims priority to U.S. Patent No. 7,463,887 filed

on August 18, 2004. A true and correct copy of the ʼ383 patent is attached as Exhibit 8.




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        44.     Plaintiff 3G Licensing is the assignee and owner of the right, title and interest in

and to the ʼ383 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

        45.     The ʼ383 patent discloses a system and method that Plaintiffs believe is essential

under the 4G cellular standard as explained in attached Exhibit 9. Thus, Defendant’s 4G Capable

Accused Instrumentalities are necessarily infringing the ʼ383 patent.

        46.     Defendant was made further aware of the ʼ383 patent and its infringement thereof

at least as early as the date of filing of this Complaint.

        47.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 9, 17, 25, 49, 58, 66, 74, 82, and/or 90 of the ʼ383 patent by making, using, selling,

importing, offering for sale, providing, practicing, and causing the 4G Capable Accused

Instrumentalities that infringe the patented methods.

        48.     Upon information and belief, these 4G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

        49.     Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 1, 9, 17, 25, 49, 58, 66, 74, 82, and/or 90 of the ’383 patent under 35

U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness, actively

aiding and abetting others to infringe, including, but not limited to Defendant’s partners, clients,

customers/subscribers, and end users, whose use of the 4G Capable Accused Instrumentalities

constitutes direct infringement of at least one claim of the ’383 patent.

        50.     In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the




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4G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 4G Capable Accused Instrumentalities.

       51.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 4G Capable Accused Instrumentalities necessarily infringes the ʼ383 patent

because the invention of the ʼ383 patent is required to comply with the relevant cellular

standard. Defendant advertises its 4G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ383 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ383 patent.

       52.     Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ383 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 4G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ383 patent. Each of the 4G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ383 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 4G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       53.     Plaintiffs have been harmed by Defendant’s infringing activities.

             COUNT III – INFRINGEMENT OF U.S. PATENT NO. 8,189,611

       54.     The allegations set forth in the foregoing paragraphs 1 through 53 are incorporated

into this Third Claim for Relief.

       55.     On May 29, 2012, the ’611 patent, entitled “System and Method for Resolving

Contention Among Applications Requiring Data Connections Between a Mobile Communications

Device and a Wireless Network” was duly and legally issued by the United States Patent and


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Trademark Office from Patent Application No. 12/326,466 filed on December 2, 2008. The ʼ611

patent claims priority to U.S. Patent No. 7,474,671 filed on November 4, 2005. A true and correct

copy of the ʼ611 patent is attached as Exhibit 10.

       56.     Plaintiff 3G Licensing is the assignee and owner of the right, title and interest in

and to the ʼ611 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

       57.     The ʼ611 patent discloses a system and method that Plaintiffs believe is essential

under the 4G cellular standard as explained in attached Exhibit 11. Thus, Defendant’s 4G Capable

Accused Instrumentalities are necessarily infringing the ʼ611 patent.

       58.     Defendant was made aware of the ʼ611 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       59.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 7, and/or 8 of the ʼ611 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 4G Capable Accused Instrumentalities that infringe the

patented methods.

       60.     Upon information and belief, these 4G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       61.     Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 1, 7, and/or 8 of the ’611 patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and end




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users, whose use of the 4G Capable Accused Instrumentalities constitutes direct infringement of

at least one claim of the ’611 patent.

       62.     In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

4G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 4G Capable Accused Instrumentalities.

       63.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 4G Capable Accused Instrumentalities necessarily infringes the ʼ611 patent

because the invention of the ʼ611 patent is required to comply with the relevant cellular

standard. Defendant advertises its 4G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ611 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ611 patent.

       64.     Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ611 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 4G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ611 patent. Each of the 4G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ611 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 4G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       65.     Plaintiffs have been harmed by Defendant’s infringing activities.




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              COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 7,215,653

       66.     The allegations set forth in the foregoing paragraphs 1 through 65 are incorporated

into this Fourth Claim for Relief.

       67.     On May 8, 2007, the ’653 patent, entitled “Controlling Data Transmission Rate on

the Reverse Link for Each Mobile Station in a Dedicated Manner” was duly and legally issued by

the United States Patent and Trademark Office from Patent Application No. 10/071,243 filed on

February 11, 2002. A true and correct copy of the ʼ653 patent is attached as Exhibit 12.

       68.     Plaintiff 3G Licensing is the assignee and owner of the right, title and interest in

and to the ʼ653 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

       69.     The ʼ653 patent discloses a system and method that Plaintiffs believe is essential

under the 3G cellular standard as explained in attached Exhibit 13. Thus, Defendant’s Accused

Instrumentalities that are compliant with the 3G standard (“3G Capable Accused

Instrumentalities”) are necessarily infringing the ʼ653 patent.

       70.     Defendant was made aware of the ʼ653 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       71.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 34 and/or 37 of the ʼ653 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 3G Capable Accused Instrumentalities that infringe the

patented methods.

       72.     Upon information and belief, these 3G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.




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       73.     Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 34 and/or 37 of the ’653 patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and end

users, whose use of the 3G Capable Accused Instrumentalities constitutes direct infringement of

at least one claim of the ’653 patent.

       74.     In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

3G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 3G Capable Accused Instrumentalities.

       75.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 3G Capable Accused Instrumentalities necessarily infringes the ʼ653 patent

because the invention of the ʼ653 patent is required to comply with the relevant cellular

standard. Defendant advertises its 3G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ653 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ653 patent.

       76.     Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ653 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 3G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ653 patent. Each of the 3G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ653 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing




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use. In particular, each of the 3G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       77.     Plaintiffs have been harmed by Defendant’s infringing activities.

              COUNT V – INFRINGEMENT OF U.S. PATENT NO. 7,319,718

       78.     The allegations set forth in the foregoing paragraphs 1 through 77 are incorporated

into this Fifth Claim for Relief.

       79.     On January 15, 2008, the ’718 patent, entitled “CQI Coding Method for HS-

DPCCH” was duly and legally issued by the United States Patent and Trademark Office from

Patent Application No. 10/365,498 filed on February 13, 2003. A true and correct copy of the

ʼ718 patent is attached as Exhibit 14.

       80.     Plaintiff 3G Licensing is the assignee and owner of the right, title and interest in

and to the ʼ718 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

       81.     The ʼ718 patent discloses a system and method that Plaintiffs believe is essential

under the 3G cellular standard as explained in attached Exhibit 15. Thus, Defendant’s 3G Capable

Accused Instrumentalities are necessarily infringing the ʼ718 patent.

       82.     Defendant was made aware of the ʼ718 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       83.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 15 and/or 16 of the ʼ718 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 3G Capable Accused Instrumentalities that infringe the

patented methods.




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       84.     Upon information and belief, these 3G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       85.     Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 15 and/or 16 of the ’718 patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and end

users, whose use of the 3G Capable Accused Instrumentalities constitutes direct infringement of

at least one claim of the ’718 patent.

       86.     In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

3G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 3G Capable Accused Instrumentalities.

       87.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 3G Capable Accused Instrumentalities necessarily infringes the ʼ718 patent

because the invention of the ʼ718 patent is required to comply with the relevant cellular

standard. Defendant advertises its 3G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ718 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ718 patent.

       88.     Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ718 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 3G Capable Accused Instrumentalities that infringe the patented methods, to be




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especially made or adapted for use in an infringement of the ʼ718 patent. Each of the 3G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ718 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 3G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       89.     Plaintiffs have been harmed by Defendant’s infringing activities.

              COUNT VI – INFRINGEMENT OF U.S. PATENT NO. 7,551,625

       90.     The allegations set forth in the foregoing paragraphs 1 through 89 are incorporated

into this Sixth Claim for Relief.

       91.     On June 23, 2009, the ’625 patent, entitled “Method of Scheduling an Uplink

Packet Transmission Channel in a Mobile Communication System” was duly and legally issued

by the United States Patent and Trademark Office from Patent Application No. 11/097,011 filed

on March 31, 2005. A true and correct copy of the ʼ625 patent is attached as Exhibit 16.

       92.     Plaintiff 3G Licensing is the assignee and owner of the right, title and interest in

and to the ʼ625 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

       93.     The ʼ625 patent discloses a system and method that Plaintiffs believe is essential

under the 3G cellular standard as explained in attached Exhibit 17. Thus, Defendant’s 3G Capable

Accused Instrumentalities necessarily infringing the ʼ625 patent.

       94.     Defendant was made aware of the ʼ625 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       95.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 16 and/or 39 of the ʼ625 patent by making, using, selling, importing, offering for sale,




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providing, practicing, and causing the 3G Capable Accused Instrumentalities that infringe the

patented methods.

       96.     Upon information and belief, these 3G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       97.     Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 16 and/or 39 of the ’625 patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and end

users, whose use of the 3G Capable Accused Instrumentalities constitutes direct infringement of

at least one claim of the ’625 patent.

       98.     In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

3G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 3G Capable Accused Instrumentalities.

       99.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 3G Capable Accused Instrumentalities necessarily infringes the ʼ625 patent

because the invention of the ʼ625 patent is required to comply with the relevant cellular

standard. Defendant advertises its 3G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ625 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ625 patent.




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       100.    Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ625 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 3G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ625 patent. Each of the 3G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ625 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 3G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       101.    Plaintiffs have been harmed by Defendant’s infringing activities.

              COUNT VII – INFRINGEMENT OF U.S. PATENT NO. 7,580,388

       102.    The allegations set forth in the foregoing paragraphs 1 through 101 are incorporated

into this Seventh Claim for Relief.

       103.    On August 25, 2009, the ’388 patent, entitled “Method and Apparatus for Providing

Enhanced Messages on Common Control Channel in Wireless Communication System” was duly

and legally issued by the United States Patent and Trademark Office from Patent Application No.

11/065,872 filed on February 25, 2005. The ʼ388 patent claims priority to U.S. Provisional Patent

Application No. 60/576,214 filed on June 1, 2004 and Provisional Patent Application No.

60/589,630 filed on July 20, 2004. A true and correct copy of the ʼ388 patent is attached as Exhibit

18.

       104.    Plaintiff 3G Licensing is the assignee and owner of the right, title and interest in

and to the ʼ388 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.




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       105.    The ʼ388 patent discloses a system and method that Plaintiffs believe is essential

under the 3G cellular standard as explained in attached Exhibit 19. Thus, Defendant’s 3G Capable

Accused Instrumentalities are necessarily infringing the ʼ388 patent.

       106.    Defendant was made aware of the ʼ388 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       107.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1 and/or 33 of the ʼ388 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 3G Capable Accused Instrumentalities that infringe the

patented methods.

       108.    Upon information and belief, these 3G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       109.    Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 1 and/or 33 of the ’388 patent under 35 U.S.C. § 271(b) by, among other

things, and with specific intent or willful blindness, actively aiding and abetting others to infringe,

including, but not limited to Defendant’s partners, clients, customers/subscribers, and end users,

whose use of the 3G Capable Accused Instrumentalities constitutes direct infringement of at least

one claim of the ’388 patent.

       110.    In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

3G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 3G Capable Accused Instrumentalities.




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       111.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 3G Capable Accused Instrumentalities necessarily infringes the ʼ388 patent

because the invention of the ʼ388 patent is required to comply with the relevant cellular

standard. Defendant advertises its 3G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ388 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ388 patent.

       112.    Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ388 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 3G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ388 patent. Each of the 3G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ388 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 3G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       113.    Plaintiffs have been harmed by Defendant’s infringing activities.

              COUNT VIII – INFRINGEMENT OF U.S. PATENT NO. 7,869,396

       114.    The allegations set forth in the foregoing paragraphs 1 through 113 are incorporated

into this Eighth Claim for Relief.

       115.    On January 11, 2011, the ’396 patent, entitled “Data Transmission Method and Data

Re-Transmission Method” was duly and legally issued by the United States Patent and Trademark

Office from Patent Application No. 12/158,646 filed on January 3, 2007. The ʼ396 patent claims

priority to U.S. Provisional Patent Application No. 60/757,063 filed on January 5, 2006. A true

and correct copy of the ʼ396 patent is attached as Exhibit 20.


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       116.    Plaintiff Sisvel S.p.A. is the assignee and owner of the right, title and interest in and

to the ʼ396 patent, including the right to assert all causes of action arising under said patents and

the right to any remedies for infringement of them.

       117.    The ʼ396 patent discloses a system and method that Plaintiffs believe is essential

under the 4G cellular standard as explained in attached Exhibit 21. Thus, Defendant’s 4G Capable

Accused Instrumentalities are necessarily infringing the ʼ396 patent.

       118.    Defendant was made aware of the ʼ396 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       119.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 6 and/or 8 of the ʼ396 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 4G Capable Accused Instrumentalities that infringe the

patented methods.

       120.    Upon information and belief, these 4G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       121.    Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 1, 6 and/or 8 of the ’396 patent under 35 U.S.C. § 271(b) by, among

other things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and end

users, whose use of the 4G Capable Accused Instrumentalities constitutes direct infringement of

at least one claim of the ’396 patent.

       122.    In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the




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4G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 4G Capable Accused Instrumentalities.

       123.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 4G Capable Accused Instrumentalities necessarily infringes the ʼ396 patent

because the invention of the ʼ396 patent is required to comply with the relevant cellular

standard. Defendant advertises its 4G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ396 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ396 patent.

       124.    Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ396 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 4G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ396 patent. Each of the 4G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ396 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 4G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       125.    Plaintiffs have been harmed by Defendant’s infringing activities.

              COUNT IX – INFRINGEMENT OF U.S. PATENT NO. 8,971,279

       126.    The allegations set forth in the foregoing paragraphs 1 through 125 are incorporated

into this Ninth Claim for Relief.

       127.    On March 3, 2015, the ’279 patent, entitled “Method and Apparatus for Indicating

Deactivation of Semi-Persistent Scheduling” was duly and legally issued by the United States

Patent and Trademark Office from Patent Application No. 13/791,421 filed on March 8, 2013.


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The ʼ279 patent claims priority to U.S. Provisional Patent Application Nos. 61/114,440 filed on

November 13, 2008 and 61/119,375 filed on December 3, 2008. A true and correct copy of the

ʼ279 patent is attached as Exhibit 22.

       128.    Plaintiff Sisvel S.p.A. is the assignee and owner of the right, title and interest in and

to the ʼ279 patent, including the right to assert all causes of action arising under said patents and

the right to any remedies for infringement of them.

       129.    The ʼ279 patent discloses a system and method that Plaintiffs believe is essential

under the 4G cellular standard as explained in attached Exhibit 23. Thus, Defendant’s 4G Capable

Accused Instrumentalities are necessarily infringing the ʼ279 patent.

       130.    Defendant was made aware of the ʼ279 patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       131.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1 and/or 11 of the ʼ279 patent by making, using, selling, importing, offering for sale,

providing, practicing, and causing the 4G Capable Accused Instrumentalities that infringe the

patented methods.

       132.    Upon information and belief, these 4G Capable Accused Instrumentalities are used,

marketed, provided to, and/or used by or for the Defendant’s partners, clients,

customers/subscribers and end users across the country and in this District.

       133.    Upon information and belief, Defendant has induced and continues to induce others

to infringe at least claims 1 and/or 11 of the ’279 patent under 35 U.S.C. § 271(b) by, among other

things, and with specific intent or willful blindness, actively aiding and abetting others to infringe,

including, but not limited to Defendant’s partners, clients, customers/subscribers, and end users,




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whose use of the 4G Capable Accused Instrumentalities constitutes direct infringement of at least

one claim of the ’279 patent.

       134.    In particular, the Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

4G Capable Accused Instrumentalities and providing instruction materials, training, and services

regarding the 4G Capable Accused Instrumentalities.

       135.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the 4G Capable Accused Instrumentalities necessarily infringes the ʼ279 patent

because the invention of the ʼ279 patent is required to comply with the relevant cellular

standard. Defendant advertises its 4G Capable Accused Instrumentalities as compliant with the

relevant cellular standard, which induces others to infringe the ʼ279 patent. Defendant has

knowingly induced infringement since at least the filing of this Complaint when Defendant was

first made aware of the ʼ279 patent.

       136.    Upon information and belief, the Defendant is liable as a contributory infringer of

the ʼ396 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States the 4G Capable Accused Instrumentalities that infringe the patented methods, to be

especially made or adapted for use in an infringement of the ʼ279 patent. Each of the 4G Capable

Accused Instrumentalities is a material component for use in practicing the ʼ279 patent and is

specifically made and is not a staple article of commerce suitable for substantial non-infringing

use. In particular, each of the 4G Capable Accused Instrumentalities is advertised to be compliant

with the relevant standard and primarily used in compliance with that standard.

       137.    Plaintiffs have been harmed by Defendant’s infringing activities.




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                                          JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a trial by

jury on all issues triable as such.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment for themselves and against Defendant as

follows:

        A.      An adjudication that Defendant has infringed the ʼ070, ʼ383, ʼ611, ʼ653, ʼ718, ʼ625,

                ʼ388, ʼ396, and ʼ279 patents;

        B.      An award of damages to be paid by Defendant adequate to compensate Plaintiff for

                Defendant’s past infringement of the ʼ070, ʼ383, ʼ611, ʼ653, ʼ718, ʼ625, ʼ388, ʼ396,

                and ʼ279 patents, and any continuing or future infringement through the date such

                judgment is entered, including interest, costs, expenses and an accounting of all

                infringing acts including, but not limited to, those acts not presented at trial;

        C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

                Plaintiffs’ reasonable attorneys’ fees; and

        D.      An award to Plaintiffs of such further relief at law or in equity as the Court deems

                just and proper.




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Dated: May 15, 2020               DEVLIN LAW FIRM LLC

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